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 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )      CASE NO.    CR-S-07-0181
                                   )
11                  Plaintiff,     )      ORDER REFERRING DEFENDANT TO
                                   )      BUREAU OF PRISONS FOR MENTAL
12        v.                       )      EXAMINATION PURSUANT TO 18 U.S.C.
                                   )      §§ 4241(a), 4247(b) and (c)
13   CLAUDIA DIAZ,                 )
                                   )      DATE:     February 22, 2008
14                  Defendant.     )      TIME:     9:00 a.m.
     ______________________________)      COURT:    Hon. Garland E. Burrell
15
16        This matter was on calendar for trial confirmation hearing on
17   February 22, 2008.   Assistant U.S. Attorney Heiko P. Coppola
18   appeared on behalf of the government.       The defendant appeared, in
19   custody, with her attorney, Gilbert Roque, Esq.        Defense counsel
20   represented to the Court that based upon his interaction with the
21   defendant, he had serious concerns about the defendant’s mental
22   competency to the extent that she is unable to assist properly in
23   her defense, and pursuant to 18 U.S.C. § 4241(a), requested an
24   evaluation and hearing on the matter.       Defense counsel made a
25   proffer supporting his motion.     The Government did not object to
26   defense counsel’s proffer or motion.
27        Based upon defense counsel’s proffer, the Court finds there is
28   reasonable cause, to believe that the defendant may presently be

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 1   suffering from a mental disease or defect rendering her mentally
 2   incompetent to assist properly in her defense.        It is therefore
 3   ordered as follows:
 4        1.   Pursuant to 18 U.S.C. § 4241(b), the defendant is referred
 5   to the Bureau of Prisons for a psychiatric or psychological
 6   examination and report in accordance with the provisions of 18
 7   U.S.C. § 4247(b) and (c) to assist the Court in determining the
 8   defendant’s mental competence.
 9        Under 18 U.S.C. § 4247(b), the psychiatric or psychological
10   examination shall be completed by a licensed or certified
11   psychiatrist or psychologist.     The examining psychiatrist or
12   psychologist shall prepare a report which shall be submitted to the
13   Court with copies to the attorney for the government and the
14   attorney for the defendant, as follows:
15        Attorney for the government:
          Heiko P. Coppola
16        Assistant U.S. Attorney
          501 I Street, Suite 10-100
17        Sacramento, CA 95814
          (916) 554-2770
18
          Attorney for the defendant:
19        Gilbert Roque, Esq.
          Attorney at Law
20        913 Court Street
          Woodland, CA 95695
21        (530) 666-1935
22   The report shall include the following information:
23        (1) the defendant’s history and present symptoms;
24        (2) a description of the psychiatric, psychological, and
     medical tests that were employed and their results;
25
          (3) the examiner’s findings; and
26
          (4) the examiner’s opinions as to diagnosis, prognosis, and
27
               (A) whether the defendant is suffering from a mental
28   disease or defect rendering her mentally incompetent to the extent

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 1   that she is unable to assist properly in her defense.
 2        2.    A status conference is scheduled for Friday, April 4, 2008,
 3   at 9:00 a.m., to check on the progress of the above referral.
 4        3.    Time is excluded from the Speedy Trial Act calculation for
 5   the delay resulting from the proceedings, including the examination,
 6   to determine the defendant’s mental competency, pursuant to 18
 7   U.S.C. § 3161(h)(1)(A) and Local Code A.
 8        4.    The jury trial date in this matter, set for March 18, 2008,
 9   is hereby vacated.
10        5.    The Clerk of the Court shall serve a copy of this order on
11   the United States Marshal, who shall immediately coordinate with the
12   Bureau of Prisons to effectuate the defendant’s transfer to an
13   appropriate facility as soon as possible.          The Clerk of the Court
14   shall also serve a copy of this order on the Bureau of Prisons.
15        IT IS SO ORDERED.
16   Dated:    February 25, 2008
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18                                      GARLAND E. BURRELL, JR.
19                                      United States District Judge

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